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   11
   12                        UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14                                WESTERN DIVISION
   15
        UNITED STATES OF AMERICA,        )         Case No. 2:21-CV-06965-RKG-MAR
   16                                    )
              Plaintiff,                 )
   17                                    )         NOTICE OF MOTION AND
                     v.                  )         MOTION TO LIFT OR MODIFY
   18                                    )         STAY ORDER
        $600,980.00 IN U.S. CURRENCY,    )
   19                                    )
              Defendant.                 )
   20   ________________________________ )         DATE:        October 24, 2022
                                         )         TIME:        9:00 a.m.
   21   MITCHELL MAGEE,                  )         CTRM:        850, Hon. R. Gary
                                         )                      Klausner
   22         Claimant.                  )
                                         )
   23
   24
              PLEASE TAKE NOTICE that on October 24, 2022, at 9:00 a.m., or as soon
   25
        thereafter as the matter may be heard, in the courtroom of the Honorable R. Gary
   26
        Klausner, United States District Court, Courtroom 850, Roybal Federal Building
   27
        and U.S. Courthouse, 255 East Temple Street, Los Angeles, California 90012,
   28
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    1 Claimant Mitchell Magee will move the Court to lift or modify the stay order in
    2 this action.
    3         This motion is made following the conference of counsel pursuant to Local
    4 Rule 7-3 which took place on September 12, 2022. The motion is based upon this
    5 the attached memorandum of points and authorities, all pleadings and papers on
    6 file in this and related actions, and such further matters as may be presented at any
    7 hearing on this Motion, and matters of which the Court may take notice.
    8
    9 Dated: September 26, 2022         Respectfully submitted,
   10                                   DAVID B. SMITH
                                        (pro hac vice)
   11
                                        LAW OFFICE OF ERIC HONIG
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   13
                                        /s/ Eric Honig
   14                                   Eric Honig
                                        Attorneys for Claimant
   15                                   MITCHELL MAGEE
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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2                                             I.
    3                                    INTRODUCTION
    4         Claimant Mitchell Magee (“Claimant”), by and through his counsel of
    5 record, hereby moves this Honorable Court to lift or modify the stay order entered
    6 in this case on March 8, 2022 (Doc. 38). Since this Court ordered the stay six
    7 months ago, the government has filed two status reports stating simply and
    8 vaguely that “[t]he related federal criminal investigation is ongoing.” The most
    9 recent status report filed just three weeks ago did not provide any facts as to
   10 whether any progress has been made in the alleged investigation or when the
   11 government ultimately expects this alleged investigation to conclude. It also
   12 confirmed that its next status report will not be filed for another three months, i.e.,
   13 on or about December 5, 2022. See status reports filed 6/6/22 (Doc. 45) and
   14 9/6/22 (Doc. 48).
   15         Because the government did not indicate any possible end to its
   16 investigation and failed to tell the Court that it has made any progress in the past
   17 six months, Claimant contends that there is no basis to maintain the stay. In
   18 addition, and in the alternative, if the Court believes the government did provide
   19 sufficient information to continue delaying the litigation of this case, Claimant
   20 requests that the Court modify the stay to allow him to file and have the Court
   21 determine a motion to suppress evidence, since the facts needed to litigate that
   22 motion already are in the record in a related case and are available to the parties.
   23                                            II.
   24                                    BACKGROUND
   25         The civil forfeiture complaint filed in this action alleged that U.S. Private
   26 Vaults (“USPV”) rented safe deposit boxes to customers, including Claimant’s
   27 box No. 504. ECF 1, ¶¶8, 20. On March 22, 2021, the government executed a
   28 seizure warrant at USPV; in doing so, the government removed the door from

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    1 every single safe-deposit box in the USPV facility and then scoured the contents
    2 of the boxes. See Snitko v. United States, CA/CD No. 2:21-cv-4405-RGK-MAR
    3 (class action), Trial Brief, ECF 135, at 11:23-25.
    4         As a result of this warrant execution, the government seized the property of
    5 nearly all of the box holders, including Claimant’s property and the property of
    6 the Snitko plaintiffs, and initiated administrative forfeiture proceedings. Id. at
    7 14:23-27. Eventually, the government filed this civil forfeiture action against
    8 Claimant’s property. See ECF 1 in the instant case.
    9         In Snitko, as a remedy for the violation of their Fourth Amendment rights
   10 from the search of their safe deposit boxes, the named plaintiffs and the class seek
   11 an order requiring the destruction or segregation of records generated during—or
   12 as a result of—the government’s alleged unconstitutional actions. Snitko, ECF
   13 135, 16:15-18. On August 22, 2022, this Court took under submission the
   14 outcome of that case based on documentary evidence and the parties’ trial briefs.
   15 Id. at ECF 139.
   16                                           III.
   17                                      ARGUMENT
   18         Claimant’s motion to suppress will be based solely on facts that occurred
   19 before and during the execution of the above-referenced seizure warrant and its
   20 resulting inventory. That means that Claimant’s motion also necessarily will be
   21 based solely on facts that occurred prior to the initiation of the government’s
   22 alleged pending criminal investigation and, indeed, prior to the government even
   23 discovering that Claimant held a safe deposit box at USPV. Moreover, the motion
   24 will be based only on facts already in the Court record regarding the government’s
   25 search and seizure of the safe deposit boxes at that facility, which occurred all the
   26 way back in March 2021, more than 18 months ago.
   27          Importantly, the government will not have to produce or “create” any
   28 discovery, declarations or other testimony – nor will Claimant – to litigate

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    1 Claimant’s motion to suppress here, since the government already produced
    2 sufficient evidence in discovery in the Snitko case that Claimant would need to
    3 bring his motion in the present case.
    4         For his motion – which would be based on the same government conduct
    5 that is the subject of the Snitko case – Claimant would rely on the same documents
    6 and testimonial evidence and similar arguments that already are before the Court
    7 in the Court’s record in the Snitko case.1 Therefore, neither Claimant nor the
    8 government will need to produce anything more to litigate his motion.
    9         Significantly, the government’s related criminal case, United States v. U.S.
   10 Private Vaults, Inc., 2:21-cr-00106-MCS-1, concluded on June 15, 2022 with the
   11 defendant U.S. Private Vault’s Judgment and Commitment and a criminal
   12 forfeiture order. Id., ECF Doc. No. 114. Thus, there is no pending related
   13 criminal (or civil) case that a motion to suppress in this case could adversely
   14 affect.2
   15
   16
              1
                Not only is the government’s search and seizures of the USPV boxes in
   17 this Court’s record, but its actions also have been disseminated and well-
   18 documented in the media. See Finnegan, Michael, “FBI misled judge who signed
      warrant for Beverly Hills seizure of $86 million in cash,” Los Angeles Times,
   19
      September 23, 2022. Claimant hereby requests the Court to take judicial notice of
   20 this article (attached hereto as Exhibit 1) pursuant to Fed.R.Evid. 201(b)(2)(facts
      can be accurately and readily determined from sources whose accuracy cannot
   21
      reasonably be questioned).
   22
             2
                The issues supporting the government’s request for a stay in a related civil
   23 forfeiture case involving Claimant’s other property, United States v. $217,285.00 ,
   24 CA/CD No. 2:22-cv-0015-RGK-MAR, is significantly different, in that in that
      case Claimant expects to argue that the seized property there should be suppressed
   25
      as the “fruit of the poisonous tree,” since that search of his home occurred nearly
   26 four months after the USPV search and seizure that are at issue in the present case.
   27 See Id., ECF 1, ¶5(a). As a result, Claimant’s intended motion to suppress is more
      direct here because the property seizure from Claimant's safe deposit box (along
   28 with the seizures from all of the other boxes, including those held by the Snitko

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    1        Accordingly, there is no factual or legal basis to prohibit Claimant from
    2 moving to suppress evidence seized by the government.
    3                                           IV.
    4                                    CONCLUSION
    5        Claimant requests this Court to lift the stay order entered in this case, or
    6 modify the stay to allow him to move to suppress evidence seized as a result of the
    7 government’s search of his USPV safe deposit box.
    8
    9 Dated: September 26, 2022         Respectfully submitted,
   10                                   DAVID B. SMITH
                                        (pro hac vice)
   11
                                        LAW OFFICE OF ERIC HONIG
   12
   13                                   /s/ Eric Honig
                                        Eric Honig
   14                                   Attorneys for Claimant
                                        MITCHELL MAGEE
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   26 plaintiffs) occurred during the execution of the seizure warrant at USPV, whereas
   27 in the related case Claimant’s property was not seized from his home until four
      months later, long after the government learned about Claimant’s storage of
   28 property at USPV and the execution of the seizure warrant there.

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